Case 1:05-cv-11380-RGS Document 3 Filed 07/12/2005 Page1 of1

9-6999 -
5 Holk County Sheriff's Department ' 45 Brom\‘ie\d Street ' Boston, MA 02108 ' (617) 98
u
Suffolk, ss.

 

w xvi

  
 

          
   

 

 

. d .'~1 ~ "'~‘_zk ""*
".* 'r what n "'1'5."’,"§`5@§' :'"` *:EQJ”E ; Sef:: : ~.: ?:a`:ranmer.
' 5 h \.. ~ _ ..W*` ; " va :'¢» 1-»
herehr"* amf C”'mfplai-n: _;q this .a:‘t.l~ -. 1"-' `~‘£" “. wig=amc»'"a
§'L'“:EEY.E‘:£ n > *J_> w ge!!n&'aqeni §§ the “.. s e.'_`h_ 1.- :: l `-;.d_~u`rt
m _ .- ua »'~ *"“ ~ _ 1 w " \_ » u-." -~
1' ” .. ~ -':v'-~-z»et B£Ki~?'~’.©-F=» ~ " "”
w '~§a-ga--'le mm ,3’ and
. :;r`e ?ee I\H .$_‘:(, x..»,
§ . , 4 .W l il
, ~ .- v z~ nw metal charges 541~‘£“"
:".,. 4_ “ -.
/ Deputy$he?iff
~’"*»r-:-;~+-» m~.p'iff lanes C“. Br.;»-c~k$
` ‘ "’ .:a/\.zag ;o ssa.:;:»p\;/
JSAJQS jo an;EuB_/g ama

 

uo pemoexg §
'J,:)enoo pue amf ag sae__j eo;meg a10 mamawa pue eeg/usg ;,o umwa am ug pauge),uo:) uoueuno;u; \
Eugot:`)em; am rem eog.)el.uv ;0 saxe;g pal;un eq), 310 s~\m Qc,p, lapun Mn§;ad ;o !L;xqeuad lapun axe;oep § 9

 

 

 

 

 

 

 

 

 

 

 

‘f\
§
HEAHBS .'JO NOU.VHV‘ISBG
°N.LOJ_ SE:J!AHBS ’IS/WH
333:.{ EOIAHES :iO J.NB\NB.LV.LS
:_~-_. . .'(/€,lgoeds} leql() g
_‘F-,'!)',.Jl_;

 

 

 

 

":pe:,noa:<eun peu.zmeH m

 

:J,;ai aJeM lu;eid¢.uoo pure suc)LuwnS am luqu qa,g~\ uosJed 40 eweN

'uge.xeq; Bu;pgssu ueql uo;;e;oegp
pue 952 e;qe),§ns pa uosled 2 mgm capan ;o eoeld yensn 10 ewan Suma/»\p s,luepua;ap am 12 ,10@;9\41 segdoo 1491

[]

:pames a,)aL;/v\ aoecd ‘1u2pue;ap am uodn A{;euos;ad pe/\Jeg m

 

eeg/uss go poL,/;zew e,zza,udwdda egeogpu; 01 /v\o/aq xoq sue >iQQL;;;)

E"LLLL (LN!Hd) HEM:ES 50 B\NVN

arm Lr:)\.u Aq epeu_x seM luge\du.)o@ pure suou.su.mg am §o eng/usg

EQ!AHHS :IO NHD.LEH-

 

UO!l'”-’V f!N.C’ 9 112 SUOU-‘WNS (’EB/OL 'AEL‘:H OVV DV

